            Case 2:16-cr-00305-KJD-VCF          Document 54      Filed 01/27/17      Page 1 of 2


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2                                                     16-305
3                                    UNITED STATES DISTRICT COURT
4                                           DISTRICT OF NEVADA
5                                                       ***
6     UNITED STATES OF AMERICA,
7                           Plaintiff,                     2:16-cr-00305-KJD-VCF
8     vs.                                                  ORDER

9     KAREEN ANDERSON,

10                          Defendant.

11           Before the Court is Defendant Anderson's Motion for Leave to Appear in Family Court (ECF No.
12   52) filed on January 11, 2017. Defendant Anderson filed this motion on his own behalf and during the
13   time that he was represented by counsel.
14           Lance Hendron, Esq. was appointed as counsel of record on November 3, 2016. (ECF No. 10).
15   On January 17, 2017, the Court held a hearing and granted Mr. Hendron’s motion to withdraw as counsel.
16   (ECF No. 50). On January 23, 2017, Gabriel L. Grasso, Esq. was appointed counsel of record for
17   Anderson.
18           Pursuant to Local Rule IA 11-6(a), “[a] party who has appeared by attorney cannot while so
19   represented appear or act in the case. This means that once an attorney makes an appearance on behalf of
20   a party, that party may not personally file a document with the court; all filings must thereafter be made
21   by the attorney.” Defendant may not file motions on his own behalf. See Local Rule IA 11-6(a).
22           Accordingly,
23           IT IS HEREBY ORDERED that Defendant Anderson's Motion for Leave to Appear in Family
24   Court (ECF No. 52) is DENIED.
25
         Case 2:16-cr-00305-KJD-VCF         Document 54       Filed 01/27/17     Page 2 of 2




1          The Clerk of Court is directed to strike the Defendant Anderson's Motion for Leave to Appear in

2    Family Court (ECF No. 52).

3          DATED this 27th day of January, 2017.
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4                                                             CAM FERENBACH
                                                              UNITED STATES MAGISTRATE JUDGE
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